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Colin Purringten @ ers ~
The reason eltizens and organizations should write to thelr state officials
: *now* is bacauee Spartan Mosquite must reapply to each state by Dec Sist
en) inission te sell. Plogse send your input today, Contant Info:
SoM NEOEEL 8 Loic tne: Scots eee .

ik is legal to sell Spartan Mosquito Eradicabers in
Idaho, New Mexico, South Dakota, Connecticut, and 0,6,

Replying ta UREA 8 item rs
Why should states issue “stop sell” orders on scams

~ like the Spartan Mosquito Eradicator? Because such
Bec eeCne ge ac a
Bcc ibom te ie becuse hee ue Relea
_ detailed guidance for ae

"Specifically, these untested pesticides often mislead-
ingly and falsely claim to control public health pests
with the result that consumers mistakenly and cetrimen-
tally rely upon these pesticides to protect their health.”

"Ifa claim is net supperted by data, it is therefore con-
sidered false or misleading and does not qualify for the
25(b) minimum risk exemption. Lack of supporting data
could be grounds for denial of state registration.”

Association of American Pesticide Control Officials
(AAPCO) 25(b) Workgroup

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